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                 EXHIBIT A
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                   In re National Prescription Opiate Litigation: MDL 2804

                     Reply in Support of Defendants’ Motion to Exclude
                    Opinions Offered by James Rafalski – Summary Sheet

        Defendants moved to exclude five opinions offered by Plaintiffs’ suspicious order
monitoring (SOM) expert James Rafalski, because he provided no basis for them. In response,
Plaintiffs retracted two of those opinions. Chief among them, Plaintiffs concede that, contrary to
his deposition testimony, Rafalski will “not offer opinions about the number of orders that were
in fact diverted.” Resp. at 2 (emphasis in original). Plaintiffs also concede that Rafalski’s so-
called “key components” of a SOM system are not required by DEA regulations. Id. at 8, 10-11.
Rafalski should be precluded from offering these two opinions at trial.

         With respect to the remaining three opinions subject to Defendants’ Daubert challenge,
Plaintiffs still have not pointed to any admissible bases to support them. First, regarding
Rafalski’s opinion that a registrant must document and retain due diligence records “forever,”
Rafalski offers no basis other than his own say-so, and the opinion fails to take into account the
official, contrary view of DEA. Second, regarding Rafalski’s opinion that a distributor must halt
all shipments to a customer following the flagging of a single potentially suspicious order,
Plaintiffs attempt to rely on evidence that Rafalski did not disclose in his report, and that fails to
support the opinion in any event. Third, regarding his opinion that manufacturers are required to
use chargeback and prescription data to monitor suspicious orders, Plaintiffs continue to rely on
Rafalski’s “personal experience bringing administrative actions against registrants”—experience
that DOJ instructed him not to disclose in his Touhy authorization letter and that Rafalski refused
to testify about.

         Plaintiffs do not dispute that Rafalski was required to disclose all bases for his opinions
in his report under Rule 26, or that the Court is required to strike opinions where no basis has
been disclosed under Rule 37. The Court should rule that Rafalski may not offer these three
challenged opinions at trial, either.

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